UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

 

EASTERN DIVISION
)
SECURITIES AND EXCHANGE COMMISSION, )
)
Plaintiff, ) No. 02 C 2180
)
v. ) Honorable Wayne R. Andersen
)
JAMES E. KOENIG, ) Magistrate Judge
) Nan R. Nolan
Defendant. )
)

 

DECLARATION OF ROBERT W. POMMER III IN OPPOSITION TO
KOENIG’S MOTION FOR PARTIAL SUMMARY JUDGMENT
ON GROUNDS OF IMMATERIALITY

I, Robert W. Pommer III, pursuant to 28 U.S.C. § 1746, declare that

l. I am an Assistant Chief Litigation Counsel in the Division of Enforcement
of the Securities and Exchange Commission (“SEC” or the “Commission”) in
Washington, D.C., and one of the trial counsel for the Commission in this action. I Was
one of the staff attorneys assigned to the Commission’s investigation that led to the filing
of this action. l am a member in good standing of the bars of the State of Maryland and
the District of Columbia, as Well as the Trial Bar of this Court. I make this declaration in
opposition to Koenig’s motion for partial Summary judgment on grounds of
immateriality.

2. Attached hereto as Exhibit l is a true and correct copy of excerpts from
defendant J ames E. Koenig’s Answer to the Commission’s Complaint in this action.

3. Attached as Exhibit 2 is a true and correct copy a Waste Management, Inc.

Press Release, dated October lO, 1997.

4. Attached as Exhibit 3 is a true and correct copy a Waste Management, Inc.
Press Releases, dated October 29, 1997.

5. Attached as Exhibit 4 is a true and correct copy of Waste Management
Inc.’s Form 10-Q Report for the third quarter of 1997.

6. Attached as Exhibit 5 is a true and correct copy a chart captioned Waste
Management, Inc. Historic Pricing History Report, which Was previously attached as
Exhibit l to Memorandum in Support of Defendants’ Motions to Dismiss on Grounds of
Immateriality As a Matter of Law.

7. Attached as Exhibit 6 is a true and correct copy of the affidavit of Thomas
Newkirk, dated March 30, 1999.

8. Attached as Exhibit 7 is a true and correct copy of the Notice of Pendency
and Proposed Settlement of Class Action, from the class action In re Waste Management,
Inc. Securities Litigation, Master File No. 97-C-7709.

9. Attached as Exhibit 8 is a true and correct copy of the transcript of the
June 24, 2003 Deposition Testimony of Mark T. Spears.

10. Attached as Exhibit 9 is a true and correct copy of Defendants’ Reply
Memorandum in Support of Their Motion to Dismiss on Grounds of Immateriality as a
Matter of Law (f`lled December 20, 2002).

ll. Attached as Exhibit 10 is a true and correct copy of excerpts from the
Expert Report of Frederick C. Dunbar, September 23, 2004.

12. Attached as Exhibit ll is a true and correct copy of the transcript of the

November 14, 2005 Deposition Testimony of Frederick C. Dunbar.

13. Attached as Exhibit 12 is a true and correct copy of Defendant J ames E.
Koenig’s Memorandum in Opposition to Plaintift`s Motion to Strike Defendants’

Aftirmative Defenses (flled September 2, 2004).

I declare under penalty of perjury that t re oing is tr e and correct. Executed

on January 19, 2006.

 

 

Robert W. Pommer III

